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               EXHIBIT J
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           We build the world’s most loved logic
                        analyzers

      Well over 20,000 people every month use Logic — at
     Tesla, SpaceX, Apple, Google, and virtually every other
             hardware manufacturer on the planet.
    Saleae logic analyzers are used by electrical engineers, firmware developers, enthusiasts,
       and engineering students to record, measure, visualize, and decode the signals in their
                                              electrical circuits.




                                             Our Mission


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      Our mission is to make test equipment that’s a joy to use, and to push the entire industry
         in that direction. We believe there is tremendous opportunity to invent in this space.




                                     Test equipment needs love,
                                      and we're going to give it.




                                              Beginnings
         We love great engineering tools – but when we were looking for a logic analyzer, the
       options we found weren’t particularly inspiring or affordable. So we decided to try and

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                                                    make our own.

      The first very first Logic was bravely purchased by Chip C. on June 3rd 2008, on eBay. In
      those days, Joe hand-assembled each device—applying solder paste, placing parts with
                                     tweezers, and soldering with a hot air pencil.




                     Designed in the San Francisco Bay Area




        Where we're located
        Our offices are located just south of
        beautiful San Francisco.

        Address:
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        408 N Canal St
        Unit A
        South San Francisco, CA
        94080




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                                                   Our Team
                                                                                                   Cart




          Joe Garrison                 Mark Garrison           Erik Luther          Debora Georgino
                   CEO                  VP Engineering       Head of Marketing       Head of Operations




            Kristina C               Tanveer Junayed           Rani Horev            Ryan Huffman
           Office Manager               Chief Designer      Sr. Software Engineer   Sr. Software Engineer




       John Colanduoni                 John Artiuch             Tim Reyes               Janelle R
       Sr. Software Engineer           Head of Hardware                              Customer Advocate

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                                                               Hardware Engineer and
                                                                  Support Manager




             Joseph C                    Jonathan G
        Customer Advocate            Hardware Engineer and
                                       Customer Advocate




                                                We are hiring
                                                No positions available



                                                    Join Our Team




                                                             Products


                                                             Specifications

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